             THE UNITED STATES DISTRICT COURT
        FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                     ASHEVILLE DIVISION
          CRIMINAL CASE NO. 1:12-cr-00088-MKR-DLH-1


UNITED STATES OF AMERICA     )
                             ) FINAL ORDER AND JUDGMENT
     vs.                     ) CONFIRMING FORFEITURE
                             )
ALEX DEAN NELSON             )
____________________________ )

     THIS MATTER is before the Court on Motion of the United States of

America for a Final Order and Judgment Confirming Forfeiture of a Corvette

and boat, both of which are described more specifically herein.    [Doc. 70].

     Based on the information set forth in the Government’s Motion and

review of the docket in this case, THIS COURT FINDS AS FOLLOWS:

     This Court, Hon. Magistrate Judge Dennis Howell presiding,

previously entered a “Consent Order and Judgment of Forfeiture

(Preliminary) Pending Rule 32.2(c)(2)” [Doc. 12] for a $130,000 money

judgment representing the proceeds of the public corruption conspiracy and

scheme, real property at 4640 Celia Creek Road, Lenoir, North Carolina

(“the Celia Creek Property”), a Sun Tracker Party Barge 25 pontoon boat

(“the Pontoon Boat”), a 2006 Ford Expedition (“the Ford”), and a 2001

Chevrolet Corvette (“the Corvette”).




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      Following issuance of the Consent Order, the Government provided

notice of the forfeiture action in accordance with the provisions of 21 U.S.C.

§ 853(n)(1) and Fed. R. Crim. P. 32.2(b)(6). Specifically, from January 3,

2013 through February 1, 2013, the Government provided notice by

publication on www.forfeiture.gov as detailed more fully in the Declaration of

Publication [Doc. 29-1].     Further, the Government provided notice via

United States Mail, Return Receipt Requested, to a variety of individuals

and entities who signed Return Receipts as set forth in Exhibit 1 to the

Government’s Motion.      Following notice in accordance with law, only Joy

Nelson Brooks (hereafter, “Brooks”) and Tammy Nelson filed petitions

asserting interests in the forfeited properties.

      Brooks filed an Amended Petition [Doc. 24] asserting an interest in the

Celia Creek Property by virtue of a Deed of Trust.              Brooks and the

Government engaged in discovery and entered into a signed settlement

agreement in the form of a proposed Consent Order and Third Party

Petition. That Consent Order was forwarded to the Court, but has not

been entered. In the Consent Order, the parties agreed, inter alia, that

Brooks had an interest in the Celia Creek Property by virtue of the Deed of

Trust identified in her Amended Petition and that she had satisfied 21


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U.S.C. § 853(n)(6)(A). Although the Government indicates in its Motion

that it still agrees with all of the stipulations in the proposed Consent Order

agreed upon between the Government and Brooks, the proposed Consent

Order is now moot since, as detailed below, the Celia Creek Property has

been dismissed from this case.

      Tammy Nelson filed a Claim [Doc. 28] asserting an interest in all of the

forfeited properties.   The Government and Tammy Nelson engaged in

discovery and ultimately signed a settlement agreement, in the form of a

proposed Consent Order of Dismissal of Properties and Third Party Petition,

entered [Doc. 60] by this Court, whereby this Court ordered the Celia Creek

Property and Ford dismissed from this action and dismissed Tammy

Nelson’s Petition.

      Rule 32.2(c)(2) of the Federal Rules of Criminal Procedure provides in

pertinent part that, “[w]hen the ancillary proceeding ends, the court must

enter a final order of forfeiture by amending the preliminary order as

necessary to account for any third-party rights.”   The period in which third

parties may file petitions has now passed, with no additional petitions

pending resolution in the ancillary proceeding, no petitions pending for the




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Corvette and Pontoon Boat, and no properties other than the Corvette and

Pontoon Boat subject to forfeiture in this action.

      IT IS, THEREFORE, ORDERED that, based on the information set

forth in the Government’s Motion and the aforementioned procedural history

of this case, and pursuant to Fed. R. Crim. P. 32.2(c)(2), the following

properties are finally forfeited to the United States, the United States holds

clear title to the properties, and the United States may dispose of the

properties in accordance with law:

            Sun Tracker Party Barge 25 pontoon boat with
            Mercury 115 motor, both seized during the
            investigation (previously identified herein as
            Athe Pontoon Boat@); and

            2001 Chevrolet Corvette convertible, VIN
            1G1YY32G615100723,       seized    during  the
            investigation (previously identified herein as
            Athe Corvette@).


Further, as set forth by prior Order [Doc. 60] of this Court, the Consent

Order and Judgment of Forfeiture is amended and the following properties

are dismissed from this forfeiture action:

            The real property at 4640 Celia Creek Road,
            Lenoir, NC 28645, further described in a deed
            recorded in the Caldwell County, North Carolina
            Register of Deeds Office, Deed Book 1539, Page


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       1201-1203; 1204-1208 (previously identified
       herein as “the Celia Creek Property”); and

       2006         Ford       Expedition,        VIN:
       1FMPU18586LA13977,       seized    during   the
       investigation (previously identified herein as
       “the Ford”).


 IT IS SO ORDERED.          Signed: March 6, 2014




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